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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 HELENA DIVISION


SARAH SEALS                                                                  PLAINTIFF

V.                                    NO: 2:05CV00096


MID DELTA COMMUNITY SERVICE, INC., et. al.                                   DEFENDANTS

                                             ORDER

       Pending is Defendant’s motion to dismiss. (Docket # 2). Plaintiff has responded by

stating that she does not object to the dismissal of her causes of action alleging claims pursuant

to the First Amendment, Fourteenth Amendment or the Arkansas Civil Rights Act based on age

discrimination. Accordingly, Defendant’s motion to dismiss is granted. Plaintiff’s claims

pursuant to the First Amendment, Fourteenth Amendment and Arkansas Civil Rights Act, based

on age discrimination, are hereby dismissed.

       IT IS SO ORDERED this 19th day of September, 2005.



                                                             ______________________________
                                                             James M. Moody
                                                             United States District Judge
